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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                            NO. MJ10-249

10                                 Plaintiff,

11          v.                                            DETENTION ORDER
12   MANUEL GUADALUPE
13   RAMOS-CHAIDEZ,

14                                 Defendant.

15
     Offense charged:
16

17          Count 1:        Conspiracy to Distribute Methamphetamine, in violation of 21 U.S.C. §§
                            841(a)(1), 841(b)(1)(A) and 846
18
     Date of Detention Hearing: June 11, 2010
19
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
20
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
21
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22
            (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
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                    defendant is a flight risk and a danger to the community based on the nature of
24
                    the pending charges. Application of the presumption is appropriate in this case.
25
            (2)     Defendant is a citizen of Mexico.
26


     DETENTION ORDER
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           (3)   An immigration detainer has been placed on defendant by the United States
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                 Immigration and Customs Enforcement.
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           (4)   Defendant has stipulated to detention, but reserves the right to contest his
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                 continued detention if there is a change in circumstances.
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           (5)   There are no conditions or combination of conditions other than detention that
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                 will reasonably assure the appearance of defendant as required or ensure the
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                 safety of the community.
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           IT IS THEREFORE ORDERED:
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           (1)   Defendant shall be detained and shall be committed to the custody of the
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                 Attorney General for confinement in a correction facility separate, to the extent
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                 practicable, from persons awaiting or serving sentences or being held in custody
12
                 pending appeal;
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           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
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                 counsel;
15
           (3)   On order of a court of the United States or on request of an attorney for the
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                 government, the person in charge of the corrections facility in which defendant
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                 is confined shall deliver the defendant to a United States Marshal for the
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                 purpose of an appearance in connection with a court proceeding; and
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           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
20
                 counsel for the defendant, to the United States Marshal, and to the United States
21
                 Pretrial Services Officer.
22
           DATED this 11th day of June, 2010.
23

24                                              A
                                                JAMES P. DONOHUE
25                                              United States Magistrate Judge
26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
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